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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                              MIAMI DIVISION
                        CASE NO. 08-20436-GRAHAM(s)(s)(s)

  UNITED STATES OF AMERICA
                    Plaintiff,
  vs.

  CARLOS FLORES LOPEZ,

                      Defendants.

  ____________________________/

                         ORDER GRANTING CONTINUANCE

        THIS CAUSE was considered upon the status conference held on

  Monday, August 31, 2009. At the conference, the parties jointly

  requested that the court extend the trial date in this action. For

  the reasons set forth in the Motion and the Court finding that the

  ends of justice will be served by a continuance of the trial date.

  Accordingly, it is

        ORDERED AND ADJUDGED that Joint Request to Continue Trial

  Date is Granted. Trial in this cause is hereby set for the two

  week period commencing September 28, 2009         and ending October 9,

  2009 in the Wilkie D. Ferguson, Jr., United States Courthouse,

  Courtroom 13-4, 400 North Miami Avenue, Miami, Florida. Calendar

  call will be held     on Wednesday, September 23, 2009 at 3:00 p.m.

        The Court finds that the period of delay from August 31,

  2009, to October 9, 2009, and any other trial date set hereafter

  excludable in calculating the period within which trial must
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  commence in accordance with the provisions of the Speedy Trial

  Act, 18 U.S.C. Section 3161, et.        seq.



        DONE AND ORDERED in Chambers at Miami, Florida, this 3rd day
  of September, 2009.


                                         _________________________
                                         DONALD L. GRAHAM
                                         UNITED STATES DISTRICT JUDGE



  Copied: Gregory Samms, Esq.
          Andrea Hoffman, AUSA
